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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY



     J.G.,
                                               Case No. 24–cv–08232–ESK–SAK
              Plaintiff,

         v.
                                                    OPINION AND ORDER
     TYLER JONES a/k/a TYLER
     JOHN JONES,

              Defendant.


         THIS MATTER having come before the Court on the inquest of damages
    held on May 6, 2025 (Inquest) (ECF No. 28), at which plaintiff and pro se
    defendant, who is in default (ECF No. 12), appeared; and at the Court’s
    direction (ECF No. 29), plaintiff having filed on May 30, 2025 a brief setting
    forth her calculation of damages (Brief) (ECF No. 30); and the Court finding,

          1.   On August 2, 2024, plaintiff commenced this action against
    defendant for distributing intimate images of her in violation of 15 U.S.C. § 6851
    and N.J.S.A. 2A:58D-1. (See generally ECF No. 1.) Plaintiff also asserts
    claims for emotional distress and invasion of privacy. (See generally id.)
    Plaintiff alleges that in November 2022, defendant, who was then dating her
    friend, asked to borrow her phone. (Id. ¶ 1.) Defendant used that opportunity
    to send himself intimate images of plaintiff he found on her phone without her
    consent. (Id.) Defendant repeated this process at least once more to access
    more images of plaintiff. (Id. ¶ 2.) Defendant uploaded these images on the
    internet along with plaintiff’s personally identifiable information, such as her
    name, workplace, and hobbies. (Id. ¶ 3.) Defendant also shared plaintiff’s
    intimate images to plaintiff’s friends via a disguised username on Instagram.
    (Id. ¶¶ 5, 22–29.) Plaintiff discovered that her intimate images were on the
    internet in December 2023 after her friend notified her that someone was
    sending him intimate images of her. (Id. ¶¶ 22–26.)

          2.    Despite being served with the summons and complaint, defendant
    failed to respond to the complaint. (ECF Nos. 3, 8.) At plaintiff’s request, the
    Clerk’s Office entered a Notice of Default against defendant on December 16,
    2024. (Entry after ECF No. 8.) Plaintiff then moved for default judgment on
    December 18, 2024 (ECF No. 9), which was granted as unopposed on January
    15, 2025 (ECF No. 12). While defendant was thereby found liable on all claims
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    alleged in the complaint, I deferred the question of damages pending the
    Inquest.

          3.   At the Inquest, plaintiff, her friend, who was also a victim to
    defendant stealing her intimate images, and defendant testified. Plaintiff and
    her friend explained in detail how plaintiff was impacted by defendant’s actions.
    Prior to defendant stealing plaintiff’s intimate images and posting them online,
    plaintiff was very social and outgoing. However, now, plaintiff suffers from
    mental health issues and has trouble being in large crowds. Plaintiff
    explained that she can no longer participate in the activities she would enjoy,
    such as hosting dinner parties and pursing her photography career.
    Defendant pleaded the Fifth Amendment throughout his testimony. During
    the Inquest, many screenshots of plaintiff’s intimate images were submitted as
    evidence for the Court’s review.

          4.   In the Brief, plaintiff reiterates the information she testified to at the
    Inquest. Plaintiff expounds upon the medical expenses she has incurred
    because of defendant’s action. (ECF No. 30 pp. 4, 5.) Plaintiff indicates that
    her “ability to enjoy life” has been impacted and that due to “fear of being in the
    public eye,” she has lost wages. (Id. p. 5.) Plaintiff requests $326,080 in
    compensation for her past and future medical expenses. (Id. p. 7.) Plaintiff
    also requests $350,000 for her lost earning potential and $3,000,000 for past
    and future pain and suffering. (Id.) Additionally, plaintiff seeks $5,000,000
    in punitive damages.         (Id.) $75,664.64 are sought in attorney’s fees and
    costs. (Id.) Plaintiff’s total request for judgment is $8,751,744.64. (Id.)

         5.     Pursuant to 15 U.S.C. § 6851(b)(3)(A)(i), a plaintiff “may recover the
    actual damages sustained … or liquidated damages in the among of $150,000,
    and the costs the cost of the action, including reasonable attorney’s fees and
    other litigation costs reasonably incurred.” N.J.S.A. 2A:58D-1 also permits a
    plaintiff to be awarded “actual damages, but not less than liquidated damages
    computed at the rate of $1,000 for each violation,” and “punitive damages,”
    “reasonable attorney’s fees and other litigation costs reasonable incurred.”

         6.   It is clear and undisputed that defendant caused plaintiff significant
    harm. Plaintiff suffers from and is medicated for post-traumatic stress
    disorder and adjustment disorder with mixed anxiety and depressed mood.
    (ECF No. 30 p. 4.) Plaintiff regularly attends therapy and treatment with a
    psychiatrist. (Id.) Due to the nature of the internet, I find that it is
    reasonable—and unfortunately, expected—for plaintiff to worry that her
    intimate images will resurface. In consideration of the fact that plaintiff’s
    employment and insurance rates may change, I will grant her request for
    $326,080 in past and future medical expenses.


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         7.   As to plaintiff’s lost wages, plaintiff details how because of
    defendant’s actions, her teaching contract was not renewed, and she was no
    longer able to continue as a photographer or pursue the joint venture she
    discussed operating with her friend. (ECF No. 30 pp. 5, 6.) While I cannot
    assess whether plaintiff’s teaching contract was not renewed solely due to
    defendant’s action, I find it to be plausible that it was a significant reason.
    Similarly, based upon plaintiff’s diagnosis, I find it reasonable why she put
    aside her photography career and joint venture. Thus, plaintiff will be
    awarded $350,000 for her lost earning potential.

          8.    In reaching her pain and suffering determination, I note that
    plaintiff did not calculate how her past and present pain and suffering amounts
    to $3,000,000. (Id. p. 6.) However, based on the testimony and evidence
    entered at the Inquest, plaintiff has shown by a preponderance of the evidence
    that she has suffered significant pain and suffering as a result of defendant’s
    illegal actions. See Looi v. Wang, No. 13–01684, 2015 WL 64650, at *2 (D.N.J.
    Jan. 5, 2015). Accordingly, plaintiff will be awarded compensatory damages
    in the amount of $3,000,000 for past and future pain and suffering

          9.   Courts are “required to perform a ‘positive and affirmative function
    in the fee fixing process.” Evans v. Port Auth. of N.Y. & N.J., 273 F.3d 346,
    362 (3d Cir. 2001) (quoting Maldonado v. Houstoun, 256 F.3d 181, 184 (3d
    Cir.2001)). Courts must “review the time charged, decide whether the hours
    set out were reasonably expended for each of the particular purposes described
    and then exclude those that are ‘excessive, redundant, or otherwise
    unnecessary.’” Id. (quoting Maldonado, 256 F.3d at 184). “[T]he district
    court retains a great deal of discretion in deciding what a reasonable fee award
    is.” Id. (quoting Bell v. United Princeton Properties, Inc., 884 F.2d 713, 721 (3d
    Cir.1989)). “In determining whether the fee request is excessive ... the court
    will inevitably be required to engage in a fair amount of ‘judgment calling’ based
    upon its experience with the case and its general experience as to how much
    time a case requires.” Id. (alteration in original) (quoting Bell, 884 F.2d at
    721). “The starting point for determining the amount of a reasonable fee is
    the lodestar, which courts determine by calculating the ‘number of hours
    reasonably expended on the litigation multiplied by a reasonable hourly rate.’”
    McKenna v. City of Philadelphia, 582 F.3d 447, 455 (3d Cir. 2009) (quoting
    Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)). The party seeking fees bears
    the burden of establishing the reasonableness of its fees. Interfaith Cmty. Org.
    v. Honeywell Int’l. Inc., 426 F.3d 694, 703 n.5 (3d Cir. 2005). Thus, “the fee
    petitioner must submit evidence supporting the hours worked and rates
    claimed.” Id.




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          10. Plaintiff’s attorneys request to be reimbursed an hourly rate of $500
    for a total of 112.8 hours. (ECF No. 30 pp. 7, 49–58.) Having reviewed all of
    the billing entries submitted by plaintiff’s attorneys, I find that they are entitled
    to fees at their billed rates. See Wachtel v. HealthNet. Inc., Nos. 01-04183, 03-
    01801, 2007 WL 1791553, at *2 (D.N.J. June 19, 2007) (holding that a thorough
    and searching analysis involving a line-by-line review of the billing record is
    necessary when assessing the reasonableness of a fee application); Webbs v.
    Green, No. 24–07763, 2025 WL 1413355, at *3 (D.N.J. May 13, 2025) (finding
    “that the rases charged by [p]lainitff’s counsel of $500 per hour are reasonable
    when compared to the rates charged in other cases with similar
    circumstances”). The 112.4 hours of billing entries are neither unnecessary
    nor duplicative. See Pub. Interest Research Grp. of N.J., Inc. v. Windall, 51
    F.3d 1179, 1188 (3d Cir. 1995) (holding that when assessing fees and costs, a
    court should exclude those that are excessive, redundant, or unnecessary).
    Similarly, the request for $5,164.64 in litigation costs were properly
    documented and reasonably incurred. However, despite the complexity of the
    case and issues presented, I find no basis to grant plaintiff’s counsel request for
    a 25% enhancement. (See ECF No. 30 pp. 56–58.) Accordingly, plaintiff will
    be awarded $61,564.64 in attorney’s fees and costs.

          11. “Punitive damages may [also] properly be imposed to further a
    State's legitimate interests in punishing unlawful conduct and deterring its
    repetition.” Leiva, 2021 WL 2722718, at *5 (alteration in original) (quoting
    BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 568 (1996)). “In our federal system,
    [s]tates necessarily have considerable flexibility in determining the level of
    punitive damages that they will allow.” Id. (alteration in original) (quoting
    Gore, 517 U.S. at 568). “In issuing such awards, however, this Court must be
    careful to comport with due process, by ensuring that the award is not ‘grossly
    excessive or arbitrary.’” Id. (quoting State Farm Mut. Auto Ins. Co. v.
    Campbell, 538 U.S. 408, 416 (2003)). “The defendant’s reprehensibility is the
    ‘most important indicium” for determining a reasonable punitive damages
    award.’” Id. at *6 (quoting Gore, 517 U.S. at 575). “Factors to consider when
    determining the degree of reprehensibility include whether: (1) the harm was
    ‘physical as opposed to economic’; (2) defendant ‘evinced an indifference to or
    reckless disregard of the health or safety of others’; (3) ‘the target of the conduct
    had financial vulnerability’; (4) the conduct was a single incident or a series of
    incidents; or (5) ‘the harm was the result of intentional malice, trickery, or
    deceit, or mere accident.’” Id. (quoting Wade v. Colaner, No. 06–03715, 2010
    WL 5479629, at *30 (D.N.J. Dec. 28, 2010)).

         12. Defendant’s actions were clearly reprehensible. Defendant
    disregarded plaintiff’s health and safety and acted with malice. An award of



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    $5,000,000 is appropriate because it sufficiently punished defendant, deters
    similar reprehensible conduct in the future, and comport with due process.

         Accordingly

              IT IS on this 14th day of July 2025 ORDERED that:

         1.   Plaintiff is granted damages amounting to a total award of
    $8,737,644.64. That award is comprised of $326,080 in compensation for her
    past and future medical expenses, $350,000 in loss earning, $3,000,000 in pain
    and suffering, $61,564.64 in attorney’s fees and costs, and $5,000,000 in
    punitive damages.

         2.   The Clerk of the Court is directed to mark this matter as closed.




                                                  /s/ Edward S. Kiel
                                                 EDWARD S. KIEL
                                                 UNITED STATES DISTRICT JUDGE




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